                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re: Michael G. Dombrowski,                )              Case No.: 16-81412-CRJ-11
        SSN: xxx-xx-4413                      )
                                              )
                Debtor.                       )              CHAPTER 11

                             JOINT MOTION FOR APPROVAL OF
                              COMPROMISE AND SETTLEMENT

         COME NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (“Debtor”),
 and Seterus, Inc., as servicer for Federal National Mortgage Association (“Creditor”), and
 respectfully represent that they have reached an agreement to settle and compromise the claims
 and disputes involved in the Debtor’s Chapter 11 case. As grounds for this motion, the parties
 state the following:

                                          I. Background

        1.    On May 11, 2016 (the "Commencement Date"), the Debtor commenced with this
 Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
 Code").

        2.     The Debtor continues to be authorized to operate the business as Debtor-in
 Possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

       3.     The Debtor is an active real estate investor with numerous real properties in
 Alabama and several other states. In addition to his own properties, the Debtor is a member or
 member/owner of several limited liability companies that own real properties.

         4.    Prepetition, the Debtor contracted with Creditor, or its predecessor in interest, for
 the loan of money to acquire real property (the “loan”).

         5.     Pursuant to its filed proof of claim in this matter, the Creditor asserted that the
 loan’s remaining balance and collateral is as follows:

                Claim 21-1             Loan balance of $191,865.49 as May 11, 2016
                                       Secured by mortgage on 2520 Bangor Ct.
                                       Snellville, GA 30078
 (the “Proof of Claim”).

        6.      Following the commencement date, a dispute arose between the Debtor and the
 Creditor regarding the Debtor’s treatment of the Creditor’s claim under the terms of his Plan for
 Reorganization (the “dispute”).




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         7.      To resolve the dispute and all other ancillary or collateral matters between these
 parties, the Debtor and the Creditor propose this compromise and settlement to the Court. The
 parties aver that this proposed resolution is in the best interest of each party and the bankruptcy
 estate as a whole.

                                   II. Jurisdiction and Notice

        8.    The parties bring this Motion for approval of compromise and settlement (this
 “Motion”) pursuant to § 105 of the Bankruptcy Code and Rules 2002 and 9019 of the Federal
 Rules of Bankruptcy Procedure (“Bankruptcy Rules”). This Motion is a contested matter under
 Bankruptcy Rule 9014.

         9.      The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §
 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). To the extent that this
 Court is being asked to enter a final order on any non-core matter, the parties expressly consent
 to the entry of a final order.

       10.     Pursuant to Bankruptcy Rule 2002, the parties propose to serve a copy of this
 Motion upon the Bankruptcy Administrator, all creditors, and all parties requesting notice.

         11.      Pursuant to Bankruptcy Rule 2002, the parties propose that the Bankruptcy Court
 provide no less than 20 days’ notice by mail to all creditors of the time within which objections
 to the relief requested in this Motion must be filed and of the hearing on any such objections.

                        III. Agreement for Compromise and Settlement

        12.     The agreement by and between the Debtor and the Creditor to resolve all issues
 involved in the Chapter 11 case is as follows:

        A.      The Creditor's Loan Documents will be modified as follows:

                Claim 21               Note will be reamorized upon confirmation of the Debtor’s
                                       Plan on a 30-year payment schedule at a fixed interest rate
                                       of 4.00% per annum;

        B.      Debtor will incorporate the terms of this agreement into his Plan of
 Reorganization, and the Creditor will support this treatment of its claim in the Debtor’s Plan and
 not vote against and withdraw its pending objection to said Plan.

         C.     If the Creditor concludes that the Debtor is in default under his plan, or
 concerning the payments to the Creditor, the Creditor will send notice of such default to Debtor
 at his last known residence and a copy to his bankruptcy counsel of record. Thereafter, the
 Debtor will have twenty-one (21) calendar days to cure the default from the date the notice is
 sent.




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        D.     Except as modified by this settlement and the Debtor’s confirmed plan, all other
 terms and conditions of the Creditor’s Loan documents otherwise remain in full force and effect.


                   IV. Business Justification for Compromise and Settlement

         13.   Bankruptcy Rule 9019(a) authorizes a bankruptcy court to approve compromises
 and settlements. The approval or rejection of a compromise is left to the sound discretion of the
 bankruptcy court, and is to be determined by the particular circumstances of each proposed
 compromise. The term “sound discretion” denotes the absence of a hard-and-fast rule. When
 invoked as a guide to judicial action, it means a decision giving due regard to what is right and
 equitable under the particular circumstances of the case and applicable law. Langes v. Green,
 282 U.S. 531, 541 (1931).

         14.    The courts have supplied the following criteria when determining the
 acceptability of a proposed compromise:

                (i)     The probability of success in the litigation;
                (ii)    The complexity of the litigation involved; and
                (iii)   The expense, inconvenience, and delay necessarily attending the litigation
                        (including the possibility that denial of the settlement will cause the
                        depletion of assets).

 Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990) and
 In re Jackson Brewing Co., 624 F.2d 605, 607 (5th Cir. 1980). See also Protective Comm. for
 Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968). The court is
 required to decide whether the settlement falls below the lowest point in a range of
 reasonableness. Anacona-Ericsson v. Hennson (In re Teletronics Services, Inc.), 762 F.2d 185,
 187-89 (2d Cir. 1985) (quoting Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d
 Cir. 1983), cert denied 464 U.S. 822 (1984)).

         15.    Although the parties each believe strongly in their respective claims and defenses,
 each also recognizes the risks inherent in any litigation.

         16.     A settlement of the parties’ disputes in accordance with this Motion will result in
 the resolution of these claims and minimize the Estate’s administrative costs.

        17.    The proposed compromise and settlement is consistent with the intent and the
 requirements of the Bankruptcy Code.

        18.    This settlement and compromise is proposed in good faith and is the product of
 arms-length negotiations that have occurred between the parties over an extended period of time.




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                                               V. Conclusion

          WHEREFORE, PREMISES CONSIDERED, the parties request that the Bankruptcy
 Court:

         A.     Enter a final order approving this compromise and settlement; authorizing the
 parties to execute and deliver any and all other documents which may be necessary or
 appropriate to effectuate the compromise and settlement described herein; and

        B.     Granting such further and different relief as the Bankruptcy Court may deem just
 and appropriate.


          Respectfully submitted this the 21st day of August, 2017.

 /s/ Donald M. Wright                                 /s/ Tazewell T. Shepard IV
 Donald M. Wright                                     Tazewell T. Shepard III
 Attorney for Seterus, Inc., as servicer for          Tazewell T. Shepard IV
 Federal National Mortgage Association                Attorneys for Debtor-in-possession

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                                  CERTIFICATE OF SERVICE

        This is to certify that I have this the 21st day of August, 2017 served the foregoing motion
 on all parties as listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the
 Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the
 Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage
 pre-paid.


                                                     /s/ Tazewell T. Shepard IV
                                                     Tazewell T. Shepard IV




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